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 6

 7

 8                             UNITED STATES BANKRUPTCY COURT
 9                             SOUTHERN DISTRICT OF CALIFORNIA
10

11   IN RE:                                               Case No.: 17-06078-MM11

12                                                        Chapter 11
     CORE SUPPLEMENT TECHNOLOGY,
13   INC., a California Corporation                       DECLARATION OF RICHARD
                                                          FEFERMAN IN SUPPORT OF (A)
14                                                        EMERGENCY MOTION FOR ENTRY OF
            Debtor and Debtor in Possession               ORDER: (1) SETTING FINAL SALE
15                                                        HEARING; (2) APPROVING SALE FREE
                                                          AND CLEAR AND RELATED RELIEF;
16                                                        (3) APPROVING SETTLEMENT
                                                          PURSUANT TO BANKRUPTCY RULE
17                                                        9019; AND (4) APPROVING
                                                          ASSUMPTION AND ASSIGNMENT OF
18                                                        CUSTOMER ORDERS AND (B)
                                                          DEBTOR’S RESPONSE TO ORDER TO
19                                                        SHOW CAUSE

20

21                                                        Judge:         Hon. Margaret M. Mann
                                                          Dept:          1, Room 218
22                                                        Date:          TBD
                                                          Time:          TBD
23

24          I, Richard Feferman, declare and state as follows:
25          1.     I am the Chief Restructuring Officer of Core Technology, Inc., the debtor and debtor-
26   in-possession in the above-captioned Chapter 11 case. I began working with the Debtor on
27   December 26, 2017, reviewing business operations, financial reports, meeting with employees and
28   analyzing business operations. The matters set forth herein are within my own personal knowledge,
                                                   1
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 1   except as to those matters stated upon information and belief. If called upon as a witness, I could

 2   and would testify competently thereto.

 3   A.     Background

 4          1.      Core’s Business.

 5          2.      Oceanside-based Core Supplement Technology, Inc. (“Core”) is a manufacturer and

 6   distributor of private-label nutritional supplements. I am informed by Core’s management team and

 7   employees and on that basis believe that its customers range from small start-ups to nationally and

 8   internationally known brands. I am further informed and believe that its clients are located across

 9   the US and abroad and include nutritionists, doctors, trainers and competitors as well as supplement

10   and nutraceutical companies.

11          3.      I am informed by Core’s management team and on that basis believe that Core began

12   its business as a custom blender. It is my understanding that Core excelled at taking a customer’s

13   idea, formulating supplements, and blending the raw ingredients and flavors into “super sacks” of

14   powder and that it excelled at marketing its formulas and powders to its customers.

15          4.      My review of Core’s business operations, its financial reports, my meetings with

16   employees, and my analysis of Core’s business operations indicates that Core was engaged in the

17   following business practices: Core did not begin blending supplements until it received an order. It

18   required that customers provide a deposit, typically 30%, when they placed their orders. And upon

19   receipt of each order, and the accompanying deposit, Core would begin blending.

20          5.      My review of Core’s business operations, its financial reports, my meetings with

21   employees, and my analysis of Core’s business operations indicates that the next step in the process,

22   packaging, was problematic for Core. It is my understanding that Core initially outsourced all of its

23   packaging, but as the company grew, it attempted to handle packaging in house. But Core’s

24   financial reports and business records indicate that outsourcing was always a common historical

25   practice. Core’s management and employees have indicated, however, that the company always

26   struggled with the packaging part of its business. Because of its inability to master packaging, Core’s

27   management and employees have indicated that Core became reactionary, turning to outsourcing on

28   a “catch-as-catch-can” basis to alleviate immediate operational pressures and fill orders. My review
                                                   2
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 1   of Core’s business operations indicate that the company vacillated between in-house and outsourced

 2   packaging, which management has described to me as a perpetual “teeter totter” as the company

 3   tried to find an approach that would work.

 4          6.      My understanding of the nutritional supplement manufacturing industry in which

 5   Core operates is that it is highly competitive with low profit margins relative to other manufacturing

 6   product fields. In my experience, in low profit margin industries operating expenses can easily

 7   consume profits if not controlled. My review of Core’s business operations, its financial reports, my

 8   meetings with employees, and my analysis of Core’s business operations indicates that, ultimately,

 9   inefficiencies and operational challenges in Core’s manufacturing and packaging operation

10   contributed heavily to significant operational losses.

11          7.      I am informed by Core’s management team and on that basis believe that in the

12   summer of fall of 2017, Joseph O’Dea was introduced to Simpson Labs, LLC (“Simpson”), a

13   private-label nutritional supplement manufacturer located in Valencia, CA. To the best of my

14   knowledge, Simpson and Core are not affiliated entities. I am further informed by Core’s

15   management team and employees and on that basis believe that, at around the time of this

16   introduction, Core was in need of an outsource manufacturer to process roughly $1.8 million in open

17   orders that Core could not fulfill and that it initiated discussions with Simpson about possible

18   outsourcing.

19          8.      I have reviewed Core’s business records and financial reports and I have questioned

20   Core’s management and employees regarding the details of the Simpson relationship, and I have

21   been unable to locate any evidence that a written contract governing their outsourcing relationship

22   was entered into between Core and Simpson; rather, Core’s management and employees have

23   indicated that orders were placed on an as-needed basis.

24          2.      Events Leadings Up to the Bankruptcy Filing.

25          9.      Core’s business records and financial reports, corroborated by interviews with Core’s

26   management and employees, indicate that Core was experiencing increasing liquidity challenges in

27   the weeks and months prior to the Petition Date. Among other things, my investigation indicates

28   that Core was having difficulty servicing its debt, it lacked the liquidity to purchase raw materials
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 1   needed to blend its powders, its suppliers were refusing to ship on credit, and some creditors had

 2   initiated collection actions against Core.

 3          10.     Core sought bankruptcy protection on October 3, 2017.

 4          3.      Core’s Postpetition Outsourcing to Simpson Labs

 5          11.     As of the Petition Date, Core’s Schedules of Assets and Liabilities (as amended, the

 6   “Bankruptcy Schedules”) reflected total personal property with an estimated “current value” of

 7   roughly $2.9 million, comprised primarily of approximately $132,160.35 in cash; inventory with an

 8   estimated current value of $536,000; $1.3 million in accounts receivable, at net book value; and

 9   equipment with a current value of $650,000. Based upon my review of the Bankruptcy Schedules as

10   well as Core’s financial records, and interviews with Mr. O’Dea, and based upon my experience

11   with such records, I believe that the only reasonable interpretation of “current value” in this context

12   is that the Bankruptcy Schedules set forth an good faith estimate of the market value of these assets

13   as of the Petition Date, as prepared by the Debtor’s representative, Mr. O’Dea. In my business

14   judgement, Mr. O’Dea’s estimate of the market value of these assets appears to be reasonable.

15          12.      Based upon interviews with Core’s management and employees, it is my

16   understanding that Core concluded and was operating on the premise that maximizing the value of

17   work in process, raw materials, and accounts receivable–which represented the majority of the

18   company’s assets–would depend heavily on the company’s ability to continue to fulfill customer

19   orders. In my experience and business judgment, that would be a correct assumption.

20          13.     Based upon interviews with Core’s management and employees, it is my

21   understanding and belief—corroborated by my review of Core’s business records—that Core turned

22   to Simpson to fulfill existing and new customer orders and that the following understanding and

23   course of business evolved between the parties:

24                  a.      Simpson Labs did not require a deposit in order to commence production;

25                  b.      Simpson agreed, when possible, to purchase from Core the raw materials
                            needed to fulfill Core orders;
26
                    c.      Where Core did not have inventory on hand, Simpson obtained raw materials
27                          needed to fulfill Core orders without requiring payments or deposits in
28                          advance;
                                                   4
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 1                    d.       Although Simpson’s customary trade terms required payment upon
                               presentation of an invoice (e.g., when product is shipped), Simpson allowed
 2                             Core to pay Simpson after the Debtor received payments from its customers;
 3
                      e.       Simpson agreed to accept as payment from the Debtor roughly 94% of the
 4                             amounts paid by the Debtor’s customers for each order, with the Debtor
                               retaining 6% as a “commission;”
 5
                      f.       Simpson provided Core with preferred production status, e.g., Core customer
 6                             orders were produced first; and
 7                    g.       Simpson, at no cost to the estate, has allowed the Debtor to use its quality,
                               regulatory, and purchasing departments to assist in servicing customer orders.
 8

 9           14.      The Debtor’s CFO is critically ill. Accordingly, I have worked with the Debtor’s

10   management team and employees to generate reports utilizing what I believe to be the underlying

11   source documents with respect to the transactions between Core and Simpson. Based upon my

12   compilation and review of these source documents, I have concluded that the outsourcing agreement

13   between Core and Simon resulted in a net profit to the estate of $76,944.72, calculated as follows:

14

15      Raw Material Sales                                                           $268,400.52

16      Completed Orders Completely Outsourced to Simpson                            $495,173.53

17      Partially Outsourced Sales                                                   $335,764.54

18       REVENUE                                                                     $1,099,338.59

19

20      Raw Materials Cost                                                           ($263,657.35)

21      Cost of Completed Orders Completely Outsourced to Simpson                    ($461,220.94)

22      Cost of Partially Outsourced Sales                                           ($297,515.43)

23       COST OF GOODS SOLD                                                          ($1,022,393.72)

24

25      GROSS PROFIT                                                                 $76,944.87

26           15.      This equates to a profit margin of roughly 7%, which is slightly higher but consistent
27   with Core’s estimate that it was generating roughly 6% in “commissions” on the Simpson
28   outsourcing agreements. Thus, based upon my review of Core’s business records and financial
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 1   reports, my due diligence and review of the underlying source documents, and as corroborated by

 2   interviews with Core’s management and employees, I believe that the above information fairly

 3   represents the economics of the Simpson/Core relationship and that this relationship provided a net

 4   economic benefit to the estate.1

 5            16.      Based upon my due diligence, review, and investigation, as well as generally

 6   accepted accounting principles, it is therefore my conclusion that, although Core was operating at an

 7   overall loss during this time period, the transactions with Simpson did not contribute to, but rather

 8   reduced, Core’s overall operating losses.

 9            17.      In my business judgment and based on my experience with other distressed and

10   liquidating companies, it is my opinion that the benefits of the Simpson agreement far exceeded the

11   6-7% profit margin on each outsourcing contract. Specifically:

12                          a. Perishable inventory such as Core’s raw materials is likely to have little or no

13                              resale or liquidation value. The Simpson outsourcing arrangement allowed

14                              Core to sell $263,657 in what where likely otherwise worthless raw materials

15                              to Simpson for $268,400 in cash.

16                          b. Continuing to support customer orders and relationships likely significantly

17                              enhanced the collectability of Core’s accounts receivable, aiding in the

18                              collection of more than $700,000 in accounts receivable since the Petition

19                              Date.

20                          c. The Simpson relationship would have provided Core with essential liquidity,

21                              allowing it to continue skeleton operations while preserve its customer base

22                              and goodwill.

23   B.       The Marketing Efforts and Tiger’s Liquidation Proposal

24
     1
25     In preparing this Declaration, I have also compared my findings to the Debtor’s Monthly Operating Reports. In doing
     so, I have identified a discrepancy of approximately $379,000 between the Debtor’s source documents and its Monthly
26   Operating Reports. Based on my due diligence and review of the source documents, and taking into account the CFO’s
     critical illness and the challenges that has presented for the Debtor, I believe it is possible that there is an error in the
27   Debtor’s Monthly Operating Reports. I am continuing my diligence and investigation, and when I can identify the
     source of the discrepancy, I will ensure that any errors are promptly corrected. I will be prepared to provide the Court
28   with an update on this issue at the OSC hearing.

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 1          1.      The Debtor’s Initial Marketing Efforts

 2          18.     Since my appointment on December 26, 2017, insiders of the Debtor introduced me

 3   to four prospective buyers (“Initial Prospects”) who were potentially interested in acquiring Core’s

 4   assets. One was Simpson Labs. The other three were Messers Hyten and Bailly (insiders); Primarch

 5   Manufacturing; and an individual named Daniel Najor.              During January 2018, I contacted

 6   representatives for three of the Interested Prospects to solicit offers for any or all of Core’s assets. I

 7   was not introduced to Mr. Najor until February and he has indicated that he is not interested. The

 8   other three Initial Prospects, including Simpson Labs, responded and entered into non-disclosure

 9   agreements with Core. After conducting initial due diligence, the other two parties (Bailly/Hyten

10   and Primarch Manufacturing) indicated they were not interested in presenting an offer. Primarch did

11   ultimately make an informal offer in an email to take over management, without a commitment to

12   provide any cash until after a 90 day “test drive.” However, I have continued to contact with them

13   periodically and I invited both to bid pursuant to the sale procedures approved by this Court. On

14   information and belief, I understand that Simpson and the Hyten / Bailly group provided offers to the

15   Debtor prior to my involvement.

16          19.     On February 18, 2018, at my direction, Core also placed advertisements for the sale

17   of its assets on two online services that specialize in listing businesses for sale: Businesses For Sale

18   and BizBen. Established in 1996, BusinessesForSale.com indicates that it is the world’s most

19   popular website for buying or selling a business and has an international reach. BizBen.com was

20   founded by Peter Siegel, MBA in 1994. BizBen is a niche online network of dedicated site users

21   consisting of buyers, owner/sellers, intermediaries, landlords, brokers, agents, advisors and others

22   looking to buy or sell: established businesses and other business opportunities in California. A true

23   and correct copy of the listings is attached hereto as Exhibit 1. The listings ran on each website

24   from roughly February 19, 2018 to March 19, 2018.              Four parties (the “Internet Prospects”)

25   responded to these listings.

26          20.     On February 22, 2018, as part of its marketing program and at my direction, the

27   Debtor prepared a one-page summary “teaser” that it mailed to 54 strategic prospects (the “Strategic

28   Prospects”) identified through industry publications.       This teaser set forth an overview of the
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 1   Debtor’s assets offered for sale. A true and correct copy of the teaser is attached hereto as Exhibit

 2   2.

 3          21.     Through March 15, 2018, in response to these marketing efforts, a total of seven

 4   parties executed non-disclosure agreements and were provided detailed financial and operational due

 5   diligence information. Five parties requested and were given a copy of the sales procedures. All

 6   prospects who signed non-disclosure agreements were invited to tour the Debtor’s facilities. Only

 7   one party, Simpson Labs, has made a formal cash offer to purchase any of the Debtor’s assets.

 8          2.      The Debtor’s Supplemental Marketing Efforts

 9          22.     On March 12, 2018, I sent a notice to all of the Initial Prospects, the Internet

10   Prospects, and the Strategic Prospects advising them the Debtor is continuing to solicit bids for

11   either all of the Debtor’s assets or for any individual assets or lots of assets. To date, two of these

12   parties have responded. All were advised that bids for individual assets can be presented prior to or

13   at the hearing on the sale motion.

14          3.      The Liquidation Value of the Included Assets

15          23.     On March 12, 2018, I contacted Tiger Capital Group, LLC (“Tiger”) and requested

16   that it provide a proposal for liquidating Core’s assets together with an estimate of likely valuation

17   ranges for those assets on the secondary market.  

18          24.     Upon information and belief, Tiger’s Remarketing Services Division provides assets

19   appraisals and liquidation/disposition services across a wide range of industries.            It is my

20   understanding that, among other transactions, Tiger and Reich Brothers recently conducted the

21   liquidation and sale—either as a going concern or in lots—of substantially all the assets of

22   Creation’s Garden, a multi-million dollar supplement company located in Valencia, CA. Tiger

23   employs multiple sales methodologies, including direct negotiations, sealed bid offerings, and live

24   and online auctions, to extract top dollar for excess assets, and it will work on a fee basis or make an

25   outright purchase of assets.

26          25.     Several members of Tigers’ Remarketing Services Division spoke with me and a

27   representative toured Core’s facilities and conducted a preliminary inspection of its assets on March

28   13, 2018. I provided Tiger with the lists of Core’s assets and requested a valuation and sale or
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 1   purchase proposals for all assets, including those that are subject to the Simpson Labs APA and

 2   those that are excluded. On March 14, 2018, Tiger provided the following preliminary estimates:

 3                      a.       Tiger estimates that the equipment component of the Included Assets to be
                                 sold under the APA could be worth between $375,000 to $750,000 on the
 4                               secondary market. Tiger could work on a fee basis to dispose of those assets
                                 over a period of roughly 90 days, or it purchase them at a discount for resale
 5                               and remove them from the Debtor’s premises to Tiger’s own facilities within
 6                               roughly 30 days.2

 7                      b.       Tiger estimates that Core’s accounts receivable could be worth approximately
                                 $200,000 on the secondary market. I believe that Tiger may consider
 8                               purchasing them at a discount of roughly 50%.
 9                      c.       The portion of inventory consisting of items used for bulk packaging has
                                 limited liquidation value. Tiger estimates that the bulk packaging assets could
10                               be sold for around $15,000 to $20,000 on secondary markets. Tiger could
11                               undertake this work for a fee or purchase these assets outright at a discount for
                                 resale.
12
                        d.       Tiger indicated that Core’s perishable inventory has no liquidation value as it
13                               consists of powders, quarantined and expired inventory that is not marketable
                                 on the secondary market. Tiger cannot dispose of or purchase these assets.
14

15             26.      In summary, it is my understanding that Tiger has estimated that the secondary

16   market for the Included Assets could range from $590,000 on the low end to $1.165 million on the

17   high end. The liquidation value of these assets to the estate is lower than these resale values, as the

18   estate would have to deduct the fees and expenses of Tiger or another liquidator and also account for

19   the administrative costs associated with maintaining these assets for an additional 90 days.

20   Alternatively, any purchase offer by Tiger would be net of transactional and carrying costs.

21             27.      It is my understanding that Tiger intends to provide a written proposal to the company

22   by March 19, 2018, and I will file that proposal with the Court once it is available.

23   C.        The Debtor’s Negotiations With Simpson Labs

24             28.      Based on my meetings and interviews with Core’s management and employees, I

25   understand that shortly after the Petition Date, Mr. O’Dea approached Simpson Labs about possibly

26   purchasing some of Core’s assets. Simpson Labs executed a Letter of Intent to Purchase Assets

27
     2
28       Tiger estimates that the equipment portion of the Excluded Assets could be worth between $140,000 to $200,000.

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 1   dated as of October 16, 2017, concerning its preliminary negotiations to purchase assets from Core.

 2   The letter stated that it was non-binding and was designed merely to set forth the parties expectations

 3   and understanding. It further stated that Simpson had “interest in offering $911,032.00 for assets of

 4   Core” including certain purchase orders, equipment, raw materials, goodwill, and intellectual

 5   property. It is my understanding that the proposal was limited only to certain asset and that it was

 6   communicated to Bank of America, which rejected it, indicating that the bank would only support a

 7   going-concern sale of all or substantially all of the Debtor’s assets.

 8            29.      When I first became involved with the Debtor in roughly December of 2017, the

 9   Debtor and Simpson Labs people were discussing a possible sale transaction that would encompass

10   all of the Debtor’s assets. Simpson’s business team had been taken on a tour of the Debtor’s facility,

11   and a purchase price of $2 million for the sale of all or substantially all of the Debtor’s assets, as a

12   going concern, had been proposed.

13            30.      Upon information and belief, as discussions between the Debtor and Simpson became

14   more serious, the Debtor and Simpson included their legal advisors and professionals in the

15   discussion. I understand that the professional teams soon pointed out that the Debtor’s assets

16   included both leased and owed equipment, a distinction that the business people had not considered

17   during their initial walk through and discussions. Simpson revised its offer to exclude the leased

18   assets from its offer and it presented a revised offer of $1.6 million offer for only the owned assets. I

19   have reviewed the information pertaining to these two offers, and in my opinion, the valuation of the

20   Debtor’s assets did not materially change; rather, the modified offer represented an offer for fewer

21   assets. When fewer assets of the same value are being sold, in my experience and based on my

22   knowledge of financial principles, the total value for the smaller basket of assets will necessarily be

23   lower.

24            31.      However, on February 19, 2018, Core disclosed to Simpson Labs that it had learned

25   that its intellectual property may have been compromised. To my knowledge, the property

26   compromised may have included, without limitation, batch records (e.g., “recipes” for products) and

27   customer lists.     Simpson Labs indicated that Core’s intellectual property was a material asset and

28   component of its calculation of its sale price, and it informed Core that it was reducing its offer to
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 1   $800,000.00. After heated negotiations, a sales price of $1.1 million was agreed upon. (The Debtor

 2   intends to preserve and pursue all litigation claims and causes of action against the parties who it

 3   believes may have compromised is intellectual property, thereby causing this loss in value.)

 4   D.      The Terms of the Proposed Sale to Simpson

 5           32.     Under the proposed APA, Simpson has offered to purchase the following assets (the

 6   “Included Assets”): (a) the Debtor’s owned equipment, except for that encumbered by Berlin

 7   Packaging’s lien(s); (b) its inventory, including both supplies and raw materials and finished goods;

 8   (c) two trucks; (d) the Debtor’s goodwill and intellectual property as well as the membership

 9   interests in its wholly owned subsidiary, Life Brand, LLC, which has no operations but owns certain

10   trade names, trademarks, and service marks related to the Debtor’s business; (e) the Debtor’s open

11   customer orders; and (f) all of the Debtor’s accounts receivable. The Included Assets are identified

12   more fully in the APA and in Exhibits A-H thereto.

13           33.     The Included Assets being sold to Simpson do not include the following assets (the

14   “Excluded Assets”): (a) the Debtor’s leased equipment; (b) the Debtors’ unexpired leases of real

15   property; (c) executory contracts, other than open customer orders; (d) cash, bank deposits, and

16   customer deposits; and (e) litigation claims, including the estate’s avoidance actions, potential D&O

17   claims, and any claims or causes of action with respect to the misuse, appropriation, or compromise

18   of the intellectual property of the Debtor or its subsidiary. And Simpson is not assuming any of the

19   Debtor’s liabilities other than its customer deposit liabilities.

20           34.     The Purchase Price under the APA is $1.454 million, which is comprised of: (a) $1.0

21   million in cash; (b) the forgiveness of a $74,000 ordinary course administrative claim held by

22   Simpson; and (c) the assumption of $380,000 in customer deposit liabilities.

23           35.     While many of the APA’s terms are straightforward, the following explanation

24   provides some additional context.

25           1.      The Accounts Receivable, Open Orders and Customer Deposits

26           36.     As discussed above, when a customer would place an order with Core, the company

27   would typically require that the customer also provide a deposit equal to 30% of the order before

28   Core would commence work or outsource the order for fulfillment. When Core received that
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 1   deposit, it would reflect this in its books and records by increasing its “cash account”, an asset, and

 2   by increasing its “customer deposits,” a liability account. Concurrently, it would make an entry in an

 3   off-balance sheet account, “open orders,” to reflect the entire amount of the order and the deposit

 4   received. All orders placed with Core prepetition have been fulfilled. Therefore, at this time, all of

 5   Core’s open orders represent orders placed and deposits received postpetition.

 6          37.     When Core fulfilled an order (whether internally or through an outsourcing partner),

 7   it would record the sale, apply the customer deposit to the balance owed and zero out the customer

 8   deposit liability, and invoice the customer for the net balance and book an account receivable equal

 9   to the net balance due from the customer. Thus, the accounts receivable on Core’s books and records

10   should in all circumstances be net of customer deposits.

11          38.     Since Core is unable to fulfill any open orders itself, if the sale to Simon is not

12   approved then Core will have no alternative except to cancel all remaining open orders. And since

13   all open orders were placed and deposits received postpetition, all of the affected customers will

14   have a postpetition, administrative claim for the return of their deposits. At this time, Core is holding

15   $380,000 in cash deposits that would need to be returned.

16          39.     Under the APA, Simpson is acquiring all of Core’s outstanding accounts receivable.

17   It is also acquiring all of Core’s open orders. Under the Initial APA, Simpson would have also

18   received the $380,000 in cash deposits associated with those open orders and have assumed the

19   corresponding $380,000 in customer deposit liabilities. That transaction would have had no

20   economic impact on the estate, as both an asset (cash deposit) and the corresponding deposit liability

21   would have transferred. Under the current APA, Simpson has agreed to assume the $380,000 in

22   customer deposit liabilities associated with the open orders but to allow the cash deposits, an asset,

23   to remain with Core. This will improve the estate’s position by $380,000 in cash.

24          2.      The Settlement of Claims Under 9019

25          41.     Both the Debtor and Simpson agree that Simpson owes Debtor $129,818.80 with
26
     respect to “commissions” owed to Debtor on account of outsourcing work sent to Simpson after the
27
     Petition Date. In addition, both the Debtor and Simpson agree that Debtor owes Simpson
28
                                                  12
     DECLARATION OF RICHARD FEFERMAN IN SUPPORT OF SALE                                      17-006078-11 MM11
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 1   $203,818.80 in post-petition accounts payable in connection with manufacturing orders placed by
 2   Debtor with Simpson after the Petition Date. The Debtor and Simpson agree to offset the post-
 3
     petition claims identified above, and Simpson agrees to waive any and all claims against the Debtor
 4
     with respect to the $74,000 net balance due after such offset (the “Offset Settlement”).
 5
            42.     Included in the Sale Motion is a request for approval of the Offset Settlement
 6

 7   pursuant to Federal Rule of Bankruptcy Procedure 9019. The terms of the agreement for which the

 8   Debtor seeks approval are as follows: Except as specified above, effective as of the Closing, the

 9   Debtor and Simpson agree to fully and forever release, acquit and discharge each other, myself as
10
     the CRO, their attorneys, accountants, and other retained professionals from any and all claims,
11
     damages, costs, attorneys’ fees, demands, rights, causes of action, or liabilities which any of them
12
     ever had, or now have, against each other.
13
            43.     I understand that the Offset Settlement and this Court’s approval thereof are in the
14

15   best interests of the Debtor as such settlement avoids the time and financial cost of litigation and

16   likely results in a better outcome for the Debtor than had the matter been litigated.

17
            3.      The Sublease
18
            40.     In connection with its liquidation effort, Core is in the process of vacating one of its
19
     two locations and consolidating its assets, books and records into the remaining location. The
20
     Included Assets under the APA are at both locations. In order to allow for an orderly transition for
21
     both parties, and to help defray administrative costs of the estate, the APA provides that Simpson
22
     may store the Included Assets at the remaining location post-closing in exchange for which it will
23
     sublease half of that space and share in half of the rent for this location. Either Core or Simpson
24
     may terminate the sublease on 2 weeks’ notice. Thus, if Core is prepared to exit the facility and
25
     terminate the lease, it can terminate the associated sublease with Simpson. If Simpson exit the
26
     facility and terminates the sublease before Core has vacated, it may terminate the sublease and Core
27
     will be solely responsible for the rent going forward.
28
                                                  13
     DECLARATION OF RICHARD FEFERMAN IN SUPPORT OF SALE                                      17-006078-11 MM11
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 1   E.       The Purchase Price Represents Fair Market Value for the Assets

 2            41.    An asset’s book value is its original purchase cost, typically adjusted for depreciation.

 3   Market value, in contrast, is the price that can be obtained by selling an asset on a competitive, open

 4   market. It is my understanding that there is nearly always a disparity between book value and

 5   market value, since the first is merely a recorded historical cost and the second is based on the

 6   supply and demand for an asset under current conditions.

 7            42.    Based upon my due diligence, including my review of the Debtor’s business records

 8   and is filings with this Court as well as interviews with the individuals who prepared these

 9   documents, I have established that Core has disclosed to the Court both the book value, and an

10   estimated current value, for its various assets. Its Schedules of Assets and Liabilities used current

11   value, or market value, in large part, as indicated therein. Its Monthly Operating Reports, on the

12   other hand, included a monthly balance statement and income statement, which present the book

13   value of its assets and liabilities.

14            43.    In some cases, such as cash, there is no difference between the two. In other cases,

15   such as inventory, there can be a significant difference. For example, Core’s Monthly Operating

16   Reports reflected inventory with a book value of $2,078,130.47 as of October 31, 2017. But its

17   Bankruptcy Schedules indicated that Core estimated the current value of its inventory as of October

18   3, 2017 was $536,252.00. I have reviewed Core’s books and records and interviewed Core’s

19   management team, and it is my opinion that the inventory levels were substantially similar at these

20   two points in time, and the difference in these two valuations is that the former is a market value

21   based on the assumption that the company would continue as a going concern, while the later a book

22   value.

23            44.    In my experience, it is not unusual for the market value of perishable inventory held

24   by a distressed business to be significantly lower than its book value. For one thing, once boxes and

25   containers of perishable product are opened, they lose substantially all of their resale value and their

26   only viable use is as raw material supporting a going concern operation. For another thing, old,

27   expired, or defective perishable inventory is not saleable and has no market value. My interviews

28   with Core’s staff after my appointment in December 2017 revealed that the company’s inventory
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 1   was insufficient to support continued production and that the remaining inventory items were "odds

 2   and ends" and "remnants" of little use or value. It was estimated that the remaining inventory had a

 3   market value of perhaps $100,000 to $200,000.

 4             45.   Although the Debtor's Monthly Operating Reports for October, November, and

 5   December of 2017 and January of 2018 reflect assets with a total book value of $6.2 million, $5.9

 6   million, $5.7 million, and $4.7 million, respectively, it is my opinion that these figures do not

 7   represent the fair market value of Core's assets and, in my opinion and experience, they have no

 8   relevance to assessing the reasonableness of the Simpson offer, or any other purchase offer, for the

 9   assets.

10             46.    Moreover, I have reviewed the Debtor' s marketing efforts and I have supplemented

11   them with additional marketing efforts prior to the March 8th sale hearing. Simpson Labs was the

12   only party who presented a purchase offer for the Debtor's assets. Following the March 8th hearing,

13   I also obtained a verbal liquidation bid :thEn Tiger, which is informed by its experience liquidating

14   similar assets for an industry competitor and by its review of assets lists and a preliminary physical

15   inspection of the Debtor's assets. As noted above, Tiger estimated that it could resell the Included

16   Assets on the secondary market or between $590,000 and $1.165 million-numbers that do not take

17   into account liquidation fees and expenses or the costs of maintaining these assets for an additional

18   90 days. Thus, based on Core's marketing efforts and Tiger's assessment, it is my opinion that the

19   Simpson offer represents fair market value for the Included Assets.

20   F.        The Sale Satisfies the Requirements of Section 363(f)
21             47.    Upon information and belief, the only secured creditor with a lien covering Core's
22   inventory, cash, and deposit accounts is Bank of America. The APA provides for Simpson Labs to

23   acquire the Purchased Assets free and clear of any interest in such property of an entity. I have kept
24   BofA appraised of the terms of the AP A following the March 8th hearing, and I under that that it is

25   generally supportive of the sale and likely t~
26

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     DECLARA TION OF RIO-lARD FEFERMAN IN SUPPORT OF SALE                                  17-006078-11 MM II
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